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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 ROADGET BUSINESS PTE. LTD.,

                   Plaintiff,

 v.                                                  Civil Action No. 1:24-2402 (TJK)

 PDD HOLDINGS INC., WHALECO INC.,
 and DOES 1-20,                                    ORAL ARGUMENT REQUESTED

                 Defendants.



            DEFENDANT PDD HOLDINGS INC.’S MOTION TO DISMISS

       Pursuant to Rule 12(b)(2) of the Federal Rules of Civil Procedure, Defendant PDD

Holdings Inc. (“PDDH”) hereby moves to dismiss the Complaint (ECF Nos. 1, 6-1) with

prejudice (“Motion”). As grounds for its Motion, PDDH relies on and incorporates fully (i) its

Memorandum of Points and Authorities in Support of PDDH’s Motion to Dismiss and (ii) the

Declaration of Kairui Zhang in Support of this Motion, filed concurrently herewith.

       Further, to the extent that this Court determines that it has personal jurisdiction over

PDDH (which PDDH respectfully maintains it does not), PDDH joins in Defendant Whaleco

Inc.’s Motion to Dismiss for Failure to State a Claim (the “Whaleco Motion”), and relies on

and incorporates fully the grounds for the Whaleco Motion.
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Date: October 16, 2024                          Respectfully submitted,

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